Case 1:17-CV-01109-D|\/|L-TWP Document 88 Filed 10/19/15 Page 1 of 1 Page|D #: 1056

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YOR_K

 

AJAY BAHL,

Plaintiff,

- against - NOTICE OF VOLUNTARY
' DISMISSAL WI‘I`I-I

NEW YORK C()LLEGE OP OSTEOPATHIC PREJUDICE
MEDICINE OF.NEW YORK INSTITUTE OF
TECI-INOLOGY (“NYCOM-NYI ” or i4-CV-4020
“NYCOM”); NORTH SI-IOR_E LONG ISLAND
JEWISH PLAINVIEW I-IOSPITAL (“NS-LIJ”); _ (LDW) (SIL)
THE NATIONAL BOARD OF OSTEOPA'I`I-IIC
MEDICAL EXAMINERS (‘NBOME”),

Defendants.

 

 

PLEASE TAIGE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(l),
plaintiff Ajay Bahl, by and through his attorneys, Leeds Brown Law, P.C. and Kevin 'I`.
Mulhearn, P.C., hereby gives notice of voluntary dismissal and voluntarily dismisses, M
ppgng all causes of action as against Plainview Hospital, incorrectly sued as “North Shore
Lon`g Island Jewish Plainview I-Iospital”, in the above-captioned action. Plainview Hospital has
not filed or served an answer or a motion for summary judgment in this action. Each party shall

bear his or their own costs and attorneys’ fees.

Daced: octr Lfg, 2015

 
 

 

 

 

By: : ' '

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